                      Case 1:18-mc-00378-JAO-KSC Document 1-2 Filed 09/12/18 Page 1 of 1                                                          PageID #: 7

No               IP   Port               Hit Date UTC                          File Name                                          File Hash                           ISP              Region
 1   174.239.6.33       7818   2018-06-11 09:01:39      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 2   174.239.5.136      5894   2018-06-06 19:15:51      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 3   174.239.6.178      7816   2018-06-03 09:39:37      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 4   174.239.3.2        7894   2018-06-02 07:59:32      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 5   174.239.1.237      6294   2018-06-02 00:28:57      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 6   174.239.3.151     13105   2018-06-01 23:59:04      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 7   174.239.5.54       9378   2018-05-31 17:46:52      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 8   174.239.3.84       9466   2018-05-31 06:10:45      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
 9   174.239.12.47      4508   2018-05-31 00:06:18      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii
10   174.239.6.35       6831   2018-05-30 23:59:47      Once Upon A Time In Venice (2017) [1080p] [YTS.AG]   SHA1: 0F304949400375CC979FFD8BED64ED3C76AD4A07   Verizon Wireless   Hawaii

                               Exhibit 1A
